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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
______________________________________________________________________________

JACKSON PHILLIP MOSLEY,                                     CASE NO.
          Plaintiff,

       vs.

EQUIFAX CREDIT INFORMATION
SERVICES, LLC; EXPERIAN
INFORMATION SOLUTIONS, INC.; and
TRANSUNION LLC;
            Defendants.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the Superior Court of the District of Columbia

to the United States District Court for District of Columbia, on the following grounds:

       1.       Plaintiff Jackson Phillip Mosley served Trans Union on or about February 26,

2016, with a Summons, Complaint, Verification and Initial Order And Addendum filed in the

Superior Court of the District of Columbia. Copies of the Summons, Complaint, Verification

and Initial Order And Addendum are attached hereto as Exhibit A, Exhibit B, Exhibit C and

Exhibit D. No other process, pleadings or orders have been served on Trans Union.

       2.       Plaintiff is a “consumer” and Trans Union is a “consumer reporting agency” as

those terms are defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”).

Plaintiff alleges that Trans Union reported inaccurate information on his credit file, see

Complaint at 2:20-21, and then negligently failed to remove the inaccurate information when
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Plaintiff disputed it. See id. at 2:29. These claims and allegations implicate the reporting and

reinvestigation requirements of the FCRA. See FCRA §§ 1681e(b) and 1681i.

       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C. §

1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

supplies this federal question.

       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the

Superior Court of the District of Columbia to the United States District Court for the District of

Columbia.

       5.      Notice of this removal will promptly be filed with the Superior Court of the

District of Columbia and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action

from the Superior Court of the District of Columbia to this United States District Court, District

of Columbia.

                                                       Respectfully submitted,



                                                       /s/ H. Mark Stichel
                                                       H. Mark Stichel, Esq. (DC Bar #503038)
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                                                       Counsel for Defendant Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 3rd day of March, 2016. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s electronic filing.

None.

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 3rd day of March, 2016,

properly addressed as follows:

Pro Se Plaintiff
Jackson Phillip Mosley
4422 35th Street, NW
Washington, DC 20008




                                                       /s/ H. Mark Stichel
                                                       H. Mark Stichel, Esq. (MD Bar #503038)
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                                                       Counsel for Defendant Trans Union, LLC




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